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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF OKLAHOMA

                                                  :
Elijah Henry,                                     :
                                                  :
                                                  : Civil Action No.: 5:19-cv-01018-SLP
                       Plaintiff,                 :
       v.                                         :
                                                  :
Radius Global Solutions LLC; and DOES 1-          :
10, inclusive,                                    :
                                                  :
                       Defendant.                 :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)


       Elijah Henry (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: January 15, 2020

                                                             Respectfully submitted,


                                                             By: /s/ Sergei Lemberg

                                                            Sergei Lemberg, Esq.
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                                                            Wilton, CT 06897
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                                                            Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2020, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the Western District of
Oklahoma Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
